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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA                               FILED
                           MISSOULA DIVISION
                                                                      Clef!<, l:J.S District Court
 UNITED STATES OF AMERICA,                                               District Of Montana
                                                         CR 18-31-M-DLC Missoula
                       Plaintiff,
                                                               ORDER
         vs.

 JUSTIN DAVID GROB,

                       Defendant.

      United States Magistrate Judge Jeremiah C. Lynch entered Findings and

Recommendation in this matter on October 24, 2018. Neither party objected and

therefore they are not entitled to de nova review of the record. 28 U.S.C. §

636(b)(l); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981 ). Clear error exists if the Court is left with a "definite and firm

conviction that a mistake has been committed." United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Lynch recommended this Court accept Justin David Grob's guilty

plea after Grob appeared before him pursuant to Federal Rule of Criminal

Procedure 11, and entered a plea of guilty to one count of bank fraud in violation

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of 18 U.S.C. § 1344(2) (Count 5) as set forth in the Indictment. In exchange for

Defendant's plea, the United States has agreed to dismiss Counts 1 and 11 of the

Indictment, as well as the forfeiture allegation.

      I find no clear error in Judge Lynch's Findings and Recommendation (Doc.

125), and I adopt them in full, including the recommendation to defer acceptance

of the Plea Agreement until sentencing when the Court will have reviewed the

Plea Agreement and Presentence Investigation Report.

      Accordingly, IT IS ORDERED that Justin David Grob's motion to change

plea (Doc. 86) is GRANTED and Justin David Grob is adjudged guilty as charged

in Count 5 of the Indictment.

      DATED this I    3~ay of November,


                                        Dana L. Christensen, Chief Judge
                                        United States District Court




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